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 7                               UNITED STATES DISTRICT COURT
 8                                       DISTRICT OF ARIZONA
 9    Kelly Maggard, Jr.,                             No. CV 05-772-PCT-PGR
10                          Plaintiff,
11                                                    ORDER
      v.
12    The Burlington Northern and Santa Fe
13    Railway Company, a Delaware
      corporation, n/k/a BNSF Railway
14    Company, a Delaware corporation; John
      Does and Jane Does I-V, husbands and
15    wives; Black Partnerships I-V, and White
      Corporations I-V,
16                          Defendants.
17
18            Pursuant to the parties’ Joint Motion to Extend Discovery and Dispositive Motion

19   Deadlines, and for good cause appearing,

20            IT IS HEREBY ORDERED extending the discovery cutoff from May 31, 2006 to July

21   31, 2006;

22            IT IS FURTHER ORDERED extending the dispositive motion from June 16, 2006 to

23   August 16, 2006.

24            IT IS FURTHER ORDERED vacating the August 1, 2006 deadline for the filing of the

25   proposed pretrial order, stipulated jury instructions, proposed voir dire, proposed juror

26   questionnaires and proposed forms of verdict. The Pretrial Conference is now scheduled for
     Monday, October 30, 2006 at 3:00 p.m. in Courtroom 601, and the parties' Joint Pretrial
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 1   Statement will be due on or before Monday, October 16, 2006.
 2         DATED this 1st day of June, 2006.
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